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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA                        )
                                                )
vs.                                             )   CR. NO. 2:07cr070-WHA
                                                )
DEMETRIA MURPHY and                             )
COURTNEY JERVONNE CASEY                         )


                                            ORDER

       This case is before the court on the Motion to Continue Trial (Doc. #33), filed by the

Defendant, Demetria Murphy, in which it is alleged that the Defendant, Courtney Casey, joins.

The United States does not oppose. The court finds, for the reason that additional time is needed

for the resolution of motions to suppress, a hearing on which was held on June 13, 2007, the ends

of justice to be served by granting a continuance outweigh the rights of the Defendant and the

public to a speedy trial. Therefore, the motion is GRANTED, and it is hereby

       ORDERED that the trial of this case is CONTINUED from the term commencing July 9,

2007, to the term commencing September 17, 2007.

       DONE this 18th day of June, 2007.



                                             /s/ W. Harold Albritton
                                             W. HAROLD ALBRITTON
                                             SENIOR UNITED STATES DISTRICT JUDGE
